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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )               8:11CR106
                    Plaintiff,              )
                                            )
      vs.                                   )                 ORDER
                                            )
SARAH A. PENNEY,                            )
                                            )
                    Defendant.              )
      This matter is before the court on the motion to continue by defendant Sarah A.
Penney (Penney) (Filing No. 131). Penney seeks a continuance of the trial of this matter
which is scheduled for April 2, 2012. Penney’s counsel represents that government’s
counsel has no objection to the motion. Upon consideration, the motion will be granted.


      IT IS ORDERED:
      1.     Penney's motion to continue trial (Filing No. 131) is granted.
      2.     Trial of this matter is re-scheduled for May 7, 2012, before Judge Joseph F.
Bataillon and a jury. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between March 19,
2012, and May 7, 2012, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason that defendant’s counsel
requires additional time to adequately prepare the case. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


      DATED this 19th day of March, 2012.


                                                BY THE COURT:

                                                s/Thomas D. Thalken
                                                United States Magistrate Judge
